          Case 2:09-cr-00258-GEB Document 49 Filed 04/09/10 Page 1 of 2


 1   WILLIAM J. PORTANOVA, State Bar No. 106193
     Attorney at Law
 2   400 Capitol Mall, Suite 1100
     Sacramento, CA 95814
 3   (916) 444-7900
     (916) 444-7998 fax
 4   portanova@thelawoffices.com
 5   Attorney for Defendant Amanullah Khalil
 6
 7
 8
 9                                UNITED STATES DISTRICT COURT
10                               EASTERN DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA                       )       CASE NO.     2:09-CR-00258 GEB
                                                    )
13                  Plaintiff,                      )
                                                    )       STIPULATION AND
14            v.                                    )       ORDER RE: CONTINUANCE
                                                    )       OF STATUS CONFERENCE
15   AMANULLAH KHALIL and                           )
     MUZDHA KHALIL,                                 )       Date: April 9, 2010
16                                                  )       Time: 8:30 a.m.
                                                    )
17               Defendants.                        )
     ___________________________________
18
19
              With the Court’s permission, defendants AMANULLAH KHALIL and MUZDHA
20
     KHALIL, and plaintiff the UNITED STATES OF AMERICA, by and through their undersigned
21
     counsel, do hereby stipulate and agree to continue the Status Conference, presently scheduled for
22
     April 9, 2010 to April 30, 2010 at 8:30 a.m. The purpose of this requested continuance is to
23
     allow the parties to continue to discuss potential settlement. .
24
     //
25
     //
26
     //
27
     //
28
       Case 2:09-cr-00258-GEB Document 49 Filed 04/09/10 Page 2 of 2


 1   IT IS SO STIPULATED.
 2
 3   DATED:       April 9, 2010         /s/ Sean Flynn by WJP
                                        SEAN FLYNN
 4                                      Assistant United States Attorney
 5
 6   DATED:       April 9, 2010         /s/ William J. Portanova
                                        WILLIAM J. PORTANOVA
 7                                      Attorney for Defendant Amanullah Khalil
 8
     DATED:       April 9, 2010         /s/ Caro Marks
 9                                      CARO MARKS
                                        Attorney for Defendant Muzdha Khalil
10
11
12   IT IS SO ORDERED.
13   Dated: April 9, 2010
14
15                                   GARLAND E. BURRELL, JR.
16                                   United States District Judge

17
18
19
20
21
22
23
24
25
26
27
28

                                         -2-
